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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

USA,                                          )
                                              )
                    Plaintiff,                )                  8:05CR252
                                              )
             v.                               )
                                              )
CARLOS ECHEVESTE-GAMA,                        )                    ORDER
                                              )
                    Defendants.               )
                                              )




        Before the Court is Attorney Adam J. Sipple’s Motion to Withdraw [106] as
attorney of record due to the fact that defendant Carlos Echeveste-Gama is presently a
fugitive. Good cause being shown, I find that the motion should be granted. At the
time of defendant’s arrest, Adam J. Sipple will be re-appointed.

       IT IS SO ORDERED.

       DATED this 10th day of April, 2006.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
